Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 1 of 14


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                            $0.104*5&


                      EXHIBIT 9
                       (Filed Under Seal)
Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 2 of 14
                                                                          1


                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO . 08-CV - 80893-CIV-MARRA/ JOHNSON



              JANE DOE ,

                                            Plaintiff ,

              vs .

              JEFFREY EPSTEIN , et al .,

                                            Defendants .

              - - - - - - - - - - - - - - - - - - -- --               I
              Related Cases :
              08 - 80119 , 08-80232 , 08-80380, 08-80381,
              08-80994 , 08 - 80811 , 08-80893 , 09 - 80469 ,
              09-8-591 , 09 - 80656 , 09 - 80802 , 09-81092

                     VIDEOTAPED DEPOSITION OF NADIA MARCINKOVA
                          TAKEN ON BEHALF OF THE PLAINTIFF




              DATE : April 13, 2010




                             U.S. Legal Support
                                (561) 835-0220
Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 3 of 14
                                                                  54                                                            56
     l       A Fiftb .                                                  1   Jeffrey Epstein s11ecifically flew to Palm Beach
     2       Q Do you know Bill Clinton?                                2   for the purposes of engaging in sex net with
     3       A Fifth.                                                   3   Jane Doc'!
     1)      Q You have been on Jeffrey Epstein's                       4        MR. YA RE MA : Object to the fom1 .
     5    airplane with Bill Clinton?                                   5      A Fifth.
     6         MR. VAREMA: Objecl lo the fo rm.                         6      Q Ge11ernlly, isn't it true .Jeffrey Epstein
     7       A Fifth .                                                  7   would rly from place to 11lacc for the purpose of
     8       Q Isn't take true you have IJeen on Jeffrey                8   engaging i11 sexual activity with minors at his
     9    Epstein's airplane with Dong Band, nm Clinton's               9   destination?
    10    righthnnd man'!                                              10        M R. VAREMA: Object lo the fo rm.
    11         MR. VAR EMA: Objccl to U1c fo rm.                       11      A Fifth.
    12       A Fifth.                                                  12      Q Isn't it tru e Uiat he employed numerous
    13       Q f-lnve you witnessed im()roper sexunt                   13   1>eople l"or the sole purpose of scheduling
    14    activity between Jeffrey Epstein nncl minors                 14   nppointments with undernge miuor females nt ench
    15    while he was in tJ1e presence of BIii Clinton?               15   des tination he lauded?
    16         M R. Y AREMA : Objecl lo the fo rm.                     16        MR. VAR.EMA: Object to th e form.
    17       A Fifth.                                                  17      A Fi fth.
    18       Q How ma ny times have you l"idden on the                 18      Q Whnt is Jeffrey E pstein's rclalionship
    19    nirplane with Jean Luc Brunel'!                              19   with Sandy Berger?
    20         MR. YAREMA: Object to the fonn.                         20        MR. YAREMA: Obj ect to th e fonn .
    21       A Fifth .                                                 21      A Fifth.
    22       Q Each time that Jenn Luc Brunel visits                   22      Q Do you know what Jeffrey Epstein's
    23    Jeffrey Epstein's hou se, does he bring und erage            23   relationship is with Alnn Dershowitz?
    24    minors to Jeffrey Epstein's house to engage in               24        M R. VA REMA: Object to the fonn .
    25    sex with?                                                    25      A Finh.

                                                                  55                                                            57
     1         MR. VAR.EMA : Objec t to the fo 1111.                    l      Q Thnt's somelJody who you know to have
     2       A Fifth .                                                  2   stayed at Jeffrey Epstein's house on many
     3       Q Do you know Glenn Dubin?                                 3   occasions, correct'?
     4       A Fifth.                                                   4        MR. YA REMA: Obj ect to the form.
     5       Q Do you know Aline Weber'?                                5      A Fifth.
     6       A Fifth.                                                   6      Q And also somebody who you know to have
     7       Q Is that somebocly thnt was n sexual abuse                7   been at the house when E.W. was in Jeffrey
     8    victim at one point in time or Jeffrey Epstein                8   Epstein's bedroom getting sexually nlJused,
     9    and Jean Luc Brunel?                                          9   correct?
    10         M R.. VAR.EM A: Object to Lhe fo nn .                   10        MR. YAR.EMA: Object to the form.
    11       A Fifth .                                                 11      A Fi ft h.
    12       Q Between 2002 and 2005 when E.W. was                     12      Q Alnn Dershowitz is also somebody that
    13    abused by J effre y Epstein sexu:tlly, isn't it tru e        13   you also know to have been at the hou se wh en L.M.
    14    that Jeffrey Epstein took flights to Palm Beach              14   was being sexually abused in Jeffrey Epstein's
    15    for the purposes of sexually abusing E.W.?                   15   bedroom, correct'?
    16          MR. VAR.E MA : Objecl to the fo rm.                    16         MR. VAR.EMA : Object to th e form .
    17       A Fifth.                                                  17      A Fifth.
    18        Q And between those same years of 2002 and               18      Q Generally, Alan Dershowitz is familiar
    19    ioos, isn't it true thal Jeffrey E1,stei11 took              19   with Jeffrey Epstein's habit of engaging in
    20    airplnne nights to Pnlm Bench from places                    20   sexual acts with minors on a <laily basis,
    21    outside ol" the State, to engage in sexual acts              21   correct?
    22    witl1 L.M .?                                                 22         MR. YAREMA: Object to the form.
    23          MR. YAR EMA: Obj ect to th e fo rm .                   23      A Fitl h.
    24        A Fifth.                                                 24      Q When Alan Dershowitz was in town,
    25       Q From 2003 through 2005, i n't it true                   25   Jeffrey Epstein did not break his schedule l"or

                                                                                                      15 (Pages 54 to 57 )

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                                                    (561)          835-0220
Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 4 of 14
                                                            58                                                              60
     1    Alan Dcrshowi t;o;, meanin g he con tinued lo sexually    1     Q What was the purpose of that ni ght'!
     2   abuse minors despite Al a n Dcrsh owitz being a            2         MR. YA REMA : Object to the fo1111 .
     3   guest in the house?                                        3     A Fi fth .
     4         MR. YAR EMA : Object to th e form.                   4     Q Did you sign a confidcnliality agrcc111cnl
     5       A Firth.                                               5   with Jeffrey Epstein?
     6       Q Alan Dcrshowitz never engaged in any                 6         MR.. YAREMA : Objccl to the fo rm.
     7   sexual :ictivity with these undernge minors; isn't         7     A Fiflh.
     8    that true?                                                B     Q When is the last time that you observed
     9         MR. YAR EM A: Object to the form.                    9   Jeffrey Epstein have sex with a minor?
    10       A Firth.                                              10         MR. YA REMA : Object to lhe form .
    11       Q l:lave you been made to have sex with               11     A    Fifth.
    12   Chislninc Mi\:ovell?                                      12     Q Since being on probation, has .Jeffrey
    13         MR. VA R.E MA : Object to the form.                 13   Epstein been able to, or has he tlow11 to his
    14       A Fifth.                                              14   island?
    15       Q Do you know Emmy Taylor?                            15         MR. YA RE MA: Object to the form.
    16       A Fifth .                                             16     A Fi fih.
    17       Q Similar to you being Jeffrey Epstein's              17     Q To your knowledge, has .lcfTrcy Epstein
    18    sex slave, is Emmy Tnylor, or was Emmy Taylor            18   flown to New Vork while on probation or community
    19    Ghislnine Maxwell's sex slave'?                          19   control?
    20         MR. YARE MA: Object to U1e fo 1111.                 20         MR. YAREM A: Object to the fo rm.
    21       A Fi fth.                                             21     A Fitlh.
    22       Q Ghislaine Maxwell is somebody who you               22     Q Isn't it true that he has flown both to
    23    know to be bi-sexual, true?                              23    cw York and to his island, and you have
    24         M R. YARE MA: Objec t to th e fonn .                24   accompanied him on those trips, since he was on
    25       A Fifth .                                             25   community conl1·ol?

                                                              59                                                            61
     1        Q You know that Ghislaine Maxwell engngccl            1         MR. YARE MA; Object to the form .
     2    in sexual acts with underage minor females, true?         2      A Fifth.
     3          MR. YA RE MA: Object to the fonn .                  3      Q Isn't il also true that Jeffrey Epstein
     4       A Fiflh.                                               4   has indicated to you that he will always engage
     5       Q This is yet another friend of Jeffrey                5   in sex acts with underage minor females?
     6    Epstein's that is into the net of molesting               6         M R. YA REM A: Object to th e fo n n.
     7    undernge minor fenrnlcs, right?                           7      A Fifth .
     B         MR. YAR EMA: Obj ect to th e fo1rn .                 8      Q In fnct1 that's something that he has
     9       A Fifth .                                              9   told you , thnt he believes he is entitled to do;
    10       Q Now, you are the next participnnt in                10   isn't that right'!
    11    that activity, meaning you have been groomed to          11         MR. YAREMA: Object to the form.
    12    enjoy and apprecin te the acts of sex with               12      A Fifth.
    13    u11<lcrage minors, true'!                                13      Q Isn't it true that Jeffrey Epstein
    14         MR. YAREMA : Object to the fo nn .                  14   believes and bas told you that if he doesn't
    15       A Fift h.                                             15   physically force the underage minor female iuto
    16        Q Mas ,l effrcy Epstein instruclccl you to           16   any act, then he is entitled lo engage in sex
    17    lie to his Prnbalion Officer in any way?                 17   with any underage minor female despite the age?
    18           MR. Y /\ RE MA: Object to the fo1m.               18         MR. Y ARE MA: Object to th t: form .
    19       A Fifth.                                              19      A Fifth.
    20       Q Mr. Visosld testified that you took a               20      Q Whnt is the youngest female you have
    21    helicopter llight wi thin the last year with             21   witnessed or observed Jeffrey Epstein to eng:ige
    22    .Jeffrey E11stei11 to Miami. Oo you remember thn t       22   in sex with?
    23    llight?                                                  23          MR. YAREMA : Object to the fo rm.
    24         MR. YA REMA : Object to the form .                  24      A Firth .
    25       A Fifth.                                              25      Q Do you haven bank account at Chase Bnnk

                                                                                                 16 ( Pa ge s 58 t o 61)

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                  Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 5 of 14

                                                          Page 187                                                                   Page 189
                  llNlThD STATES DlSTRlCT COURT                           l     TN THE CIRCUIT COURT OF THE 15TH JUDICIAL CIRCUIT
                  SOUTHERN DrSTRICT OF FLORIDA                                      IN AND FOR PALM BEACH COUNTY, rLORIDA
                                                                          7.         CASE NO. :;o2Q08CA0W051XXXXMB AB
                                                                          3
               CASE NO. 08•ClV·80 I l 9•MA1UWJOHNSON
                                                                                LM.,
       JANE DOE NO. 2,                                                                 P!aiat1rr:
            Plaintiff,                                                    5
       -vs-            VOLUME II OF III                                                              VOLUME 11 OF Ill                           1
       JEFFREY EPSTEIN,
                Defundant.
                                                                          6
                                                                          .,,   JEFFREY EPSTEIN,

                                                                                       Defen<fuuL
                                                                                                                                                !I
                                                                                                                                                ~
       Rclut1:<l ;;i.se~;                                               8                                                                       ~
       08-80232,08-08380,08-80381,08-80994                              9                                                                       1
       08-80993, 08-8081 t, 08·80893, 09-R0469                         10           VIDEOTAPED DEPOSITION OF SARAH KELLEN                       t
       09-80591, 09-80656, 09-80802, 09-81092                          11                                                                       ,i
                                                                                         Wetloi;,sday, March 24, 2010                           ~
                                                                       12                   10:37 • 6:51 p.m.                                   i
                   VIDEOTAPED DEPOSITION OF
                                                                       13

                                                                       14
                                                                                                                                                l.
                                                                                                                                                 [
                        SARAH KELLEN                                   15               250 Australim1 Avenue South
                                                                                        West Pulm Beach, F!urida33401                           I
                  Wednesday, .March 24, 2010
                    10:37 - 6:51 p.m.
                                                                       16
                                                                       17                                                                       l
                 250 Australian Avenue South                                                                                                    "'>
                                                                                                                                                ~

                      Suite 1500                                                Reported By:                                                    i
                 West Palm Beach, Flodda 33401                                  Cynthia Hopkins, Ri>R,  FPR                                     }
                                                                       20       Notary Public, State of Florida                                 i
                                                                                Pfu$e' Court Reporting                                          ·~
       Reported By:                                                    21                                                                       =
       Cynthia Hopkins, Rl'R, Fl'R                                     22                                                                        !
       Nota.ry Public, State of florida                              I 23                                                                       }
       Pro$e Court R,,.,....>rtini;i_                                l ·2 :,                                                                    ~
       J(lb No.: 1484-,,v       i 2s                         i
      ---'------------------~--l1--------------------------t~
                                                          Page l88                                                                   Page 190   l
 1     IN1'HE CIRCUIT COURT OF TIIE lSTHJUDICIAL CIRCUIT                  l      IN Tim C!RClJIT COURT or THE FIFTEENTH JUDICIAL                 i
           IN AND FOR PALM DTIACII COUNTY, l<LORIDA                               CIRCUIT IN AND FOR PALM BEACH CO1JNTY. fLOR!DA                 l
 2           CASE N 0 .     .5020DliCA028058XXXXIV!B AD                   2            CASE No.502008CA037319X~1H AB             •              i
 3
       E.W.,
                                                                          3
                                                                                S.S.
                                                                                                                                                I
                                                                                                                                                j



                                                                                                                                                I
 4
               Plaintiff,
 5
                               VOUll\4E U OF HI                           ;     .-,. •"'"""·        voLUMEII o, m
                                                                          -,
       J~H'Re.Y 8f'ST8N.                                                   '    JEFFREY El'STE!N

                                                                                AND SARAH KEU.EN,
 '!
                                                                          8


 3
                                                                                       Det~dants.
                                                                          9
 9
Hl               DEPOS!TION OF SARAH KELLEN                               0
L                                                                         1               v1OF.OTAPED DBJ:OSfTION OF
12               WcdIB:sday, March 24, 20!0                               2                  SARAH KELLEN
                  10:37 - 6:5 \ p.m.                                      3
13                                                                        4              Wednesday, Mardt24, 2010
14             250 Australian Avenue South                                                10:37 • 6:51 p.m,
               West Pa!m Beach, F!orida 3340 !                         15
15                                                                     16
16                                                                     17               250 Australian Avenue South
11                                                                                           Suite 1500
18     Reported D_y:                                                   18               West Palm Bca.:h, Florida 3340 I
       Cynthia Hopkins, RPR, fPR                                       19
19     Nota1,· Pub!ic, State .of Florida                               20

       Prnse CCJW1 RepDrliug                                           21
20                                                                     22       kepvrt~d By;
21                                                                              C~11thia Hopkins, RPR, FPR
22                                                                     23       Notary Public, SlUl\l ofFlurida
23                                                                              Pr,ise Court Reporting Ser;,ices
2<1                                                                    24       Joo No.: 1484
25                                                                     25

                                                                                                          1 (Pages 187 to 190)
       (561) 832-7500                      PROSE COURT REPORTING AGENCY, INC.                                           (561) 832-7506
           Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 6 of 14

                                                 Page 211                                                         Page 213
        the shape of a penis and vagina. Once again,. not           1           THE WITNESS: On the instruction ofmy
  2     necessarily with respect to lv1r. Epstein's home, in        2        lawyer, Tmust invoke my Fifth Amendment right.
  3     your entire 1ifo have you ever seen soap in the             3    BYMR. KUVIN:
  4     shape of a penis and vagina?                                4        Q. Do you agree that these corporations that
  5        A. Not that I recall.                                    5    I just mentioned were utilized by Jeffrey Epstein in
  ,.
  'O       Q. Do you ever recall being in Ohio?                     6    an attempt to have sexual relationships with
  7           MR. RHETN"HART: Ever in her life?                     7    underage girls?
  8           lv1R. KUVIN: The state, ever in her tife.             8           MR. RHElNHART: Objection to the fonn as
  9     BYMR. KUVffi:                                               9        to compound, and also assumes knowledge of
10         Q. Let's start there, recall being in the               10        Mr. Epstein, a.s;ks for more than one answer to
11      State of Ohio for any reason?                              11        the question. I would instruct her not to
12         A. Maybe for a layover, but not that l                  7.2       answer based on her Fifth Amendment privilege
13      specifically remember.                                     13        because the question assumes knowledge of
14         Q. Okay. Do you know an Ivan Robles?                    14        Mr. Epstein.
15         A. No.                                                  15           THE WITNESS: Upon instruction ofmy
16         Q. Have you seen a gentleman by the name of             16        lawyer I must invoke my Fifth Amendment right.
17      Alan Dershowitz at the home of Jeffrey Epstein             17           MR. KUVIN: l think r am <lone. Hang on
18      before?                                                    18        one second.
19            MR. RHEINHART: Objection to the form.                19           All right. I appreciate it. That's all
20         Standing objection, presumes knowledge of               20        the questions l have at this time. Reserve the
21         Jeffrey Epstein or his home. lnstruc-t the              21        right to ask any follow-up questions if other
22         witness not to answer.                                  22        attorneys raise new and different issues by
23            THE W[TNESS: On the instruction ofmy                 23        their questioning.
24         la,,.vyer, l must exercise my Fifth Amendment           24           MR. R.HEINHART: Understood.
25         right.                                                  25           !vfR. KUVIN: Pass the witness at this time.
                                                 Pa-ge 212                                                        Page 214
  l     BY MR. KUVlN:                                               1       Who ,wmts to go? Mr. Horow1tz, do you have a
  2       Q. Have you ever heard of the El Zorro Ranch              2       microphone?
  3     Corporation?                                                3          MR. HOROWITZ: l do,
              MR, RHB!Nlil\RT: lnstruot the witness not             4             CROSS (SARAH KELLEN}
  5       to answer based on her Fifth Amendment                    5     BY MR. HOROWITZ:
    6     priv:ilege.                                               6         Q. Ms. Kellen, did you use the telephone
    7        THE WITh'"ESS: On the instruction of my                7     numbei:, the -Jane Doe 2 at any time between ·2001
    8     lawyer f must exercise my Fifth Amendment                 8     and2006'?
    9     right.                                                    9         A. On the advice ofmy lawyer, Tmu$t exercise my
:. 0    BY MR. KUVTN:                                              10     Fifth Amendment right.
ll        Q. Have you ever heard of the New York                   11         Q. Did you use the telephone number
::. 2   Strategy Group'?                                           12    -Jane Doe 2 between 200 I and 2006 at Jeffrey
13            MR. RHEINBART: Same instruction.                     13     Epst.:in's expense?
14           'THE WITNESS: On the instruction ofmy           14                  :MR. RHEJ}UfART: O~jection to the funn in
15        lawyer, I must invoke my Fifth Amendment tight. 1 :t 5              that it assumes knowledge of Jeffrey Epstein.
16      BY MR.K(.JVlN:                                    \ 16                Standing objection a.~ previously stated with.
17        Q. Have you eve-r heard of the Ghislaine        f,
                                                           , l7               Mr. Kuvin. [nsltuct lhe witness not to an~wer,
18      Corporation?                                      / 18              based on her Fifth Amendment right.
19           MR. RHEINHART: Same instruction.             I 19                  THE WITNESS: On the instruction of my
20           THE WITNESS: On the instruction ofmy            20I             lawyer, I must e,xercise my Fifth Amendment
2.1.       lawyer, I must invoke my Fifth Amendment right. ! 21              right.
22      BY MR. KlNlN:                                      i 22           BY l'vffi. HOROWITZ:
23         Q. Have you ever heard of the Financial         l
                                                           !
                                                             23              Q. Did you use the telephone number
24      Strategy Group?                                    I 24          -Jane Doe 2 at Jeffrey Epstein's direction?
25            MR. RHEJNHART: Same instruction.             j 25                  MR. RHEINHART: Same objection as the

                                                                                          7 (Pages 211 to 214)
 {561) 832-7500                 PROSE COURT REPORTING AG.ENCY, INC.                                  (561) 832-7506
                                                 Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 7 of 14

                                                                                                                                                                                          Page 315                                                                                                                                                                                                                               Page 317
       1                                           So can we focus on the specific questions                                                                                                                                                       l                               THE WITNESS: On the instruction ofmy
                                                                                                                                                                                                                                                                                                                                   {
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              t
       2                                       that she can answer or from which you can draw                                                                                                                                                      2                            lawyer, I must invoke my Fifth Amendment           [Jc
       3                                       an adverse inference if asked properly, and                                                                                                                                                         3                            privilege.                                         i
       4
       5
                                               let's move it along.
                                                          MS. EZELL: Each young woman's case is ari
                                                                                                                                                                                                                                                   4
                                                                                                                                                                                                                                                    5
                                                                                                                                                                                                                                                                             BY MR. WEJSSING:
                                                                                                                                                                                                                                                                                Q. Do you know Alan Der.;howitz?                   ]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              j
       6                                       individual case, and we have the right to ask,                                                                                                                                                      6                               MR. RHEINHART: The question was asked and ~
       '?                                      ask whatever questions that we need to with                                                                                                                                                         7                            answered about three-and-a-half hours ago.
                                                                                                                                                                                                                                                                                                                                   ,l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             !
       8                                       regard to each one.                                                                                                                                                                                 8                               THE WITNESS: On the instruction ofmy                                                                                                                                                       !
       9                                          MR+ RHETNHART: I.....                                                                                                                                                                             9                           lav.yer, I mm,i invoke my Fifth Amendment
  1G                                              MR. GOLDBERGER: Let's just go forward                                                                                                                                                       1C                                privilege.
  11                                           until 5:00 and see vlhere we're at.                                                                                                                                                            11                             BY MR. WElSSING:
  12                               BY MR. Vv'ETSSING;                                                                                                                                                                                         12                                Q, Do you knmv David Copperfield?
  13                                  Q, Did you know that Jeffrey Epstein received                                                                                                                                                           13                                   MR. RHEINHART: That question was asked
  14                               sexual gratification from directing others to                                                                                                                                                              14                                abo'ut three-and-a-half-hours ago.
  15                               sexually abuse minor children?                                                                                                                                                                             15                                   THE WITNESS: On the instmction ofmy
  16                                     MR. RHEINHART: Objection to the fonn.                                                                                                                                                                16                                lawy;:r, I must invoke my Fifth Amendment
  n                                      THE WITNESS; On the instruction of my                                                                                                                                                                l7                                privilege.
  18                                  lawyer, 1 must invoke the Fifth Amendment                                                                                                                                                               18                             BY MR. WEISSING:
  19                                  right.                                                                                                                                                                                                  1.9                               Q. In addition to his place at, in Palm
  20                               .BY MR. WElSSING:                                                                                                                                                                                          20                             Reach, are you av.-are thatJeffrey Epstein has an
  21                                  Q. Did you knmv that Jeffrey Epstein received                                                                                                                                                           21                             apartment located at 30 I East 66th Street, Apartment
  22                               sexual gratification from directing Marcinkova to                                                                                                                                                          22                             14G through E in New York?
  23                               sexuaJly abuse minor children?                                                                                                                                                                             23                                   MR. RJ-1EJNIL4RT: That question was asked
  24                                      MR. RHEJNHART: Objection to the form. lt                                                                                                                                                            24                                about four hours ago. Tt's been asked and
____2_5_,_ _ _ai_s_su_m_e_,s_k_n_o_w_le_d_g_e_o_f_a_pe_·r_so_n_n_a_m_e_d_M_ar_c_in_k_o_va_.__2_s____ans_·w_c_re_'d_._ _ _ _ _ _ _ _ _ _ _ _ ______,j
                                                                                                                                                                                          Page 316                                                                                                                                                                                                                               Pagie 318                                    !~

       l                                       It is otherwise compound and objectionable.                                                                                                                                                         1                                         THE WITNESS: At the instruction of my       ~
       2                                          THE WITNESS: On the instru«;,1.ion of my                                                                                                                                                         2                                      lawyer, I invoke my Fifth Amendment privilege. ]
       3                                       lawyer, I must invoke my Fifth Amendment right.                                                                                                                                                     3                           BY ivtR. WEISSING:                                                                                                                                                                         . 1
       4                                                  MR. WBISSING: Let's go offtherecord. for                                                                                                                                                 4                              Q. While in New York,have you procured                                                                                                                                                    ~
       5                                       a moment.                                                                                                                                                                                           5                           underage minor children to engage in sex1.ial acts                                                                                                                                             ·~
       6                                          THE VIDEOGRAPHER: Are we an good with                                                                                                                                                            6                           with Jeffrey Epstein at that location?                                                                                                                                                         i
       '?                                      going. off the record?                                                                                                                                                                              7                                 MR. RHErNHART: Object to the form.                                                                                                                                                       i
       8                                          MR. RHBJNHART: Yeah, that's fine.                                                                                                                                                                8                                 THE WITNESS: On the instruction of my                                                                                                                                                     J.
   9                                              MR. HOROWITZ: Yes.                                                                                                                                                                          9                                   lawyer, 1 must invoke my Fifth Amendment                                                                                                                                                     ~
  10                                              THE VIDEOGRAPHER: We're nowoffthe                                                                                                                                                          10                                   privilege.                                                                                                                                                                                   ··
  11                                           record at4:22 p.m.                                                                                                                                                                            11                               BY MR. WEISSrNG:                                                                                                                                                                                 ]
  12                                              {A briefrecess was held.)                                                                                                                                                                  12                                   Q. With regard to the minor children procured                                                                                                                                                ~
  13                                              fflE VIDEOGRAPHER: We are now on the                                                                                                                                                        13                              for him at that location, were they school children                                                                                                                                             ~
  14                                           record It is 4 :24 p.m.                                                                                                                                                                        14                              in the New York area?                                                                                                                                                                            ~
  15                               BY MR. WEISSING:                                                                                                                                                                                           15                                     MR. RHEINHART: The previous question,                                                                                                                                                     j
  16                                 Q. Do you know Nadia Marcinkova?                                                                                                                                                                         16                                          objection to the form. The same as all the                                                                                                                                           i
  17                                                       MR. KUVIN: Marcinkova.                                                                                                                                                             17                                          previous qnestions, it assumes a .fact lhat's                                                                                                                                      ffilj
  18                                              THE WITNESS: On the insttuction of my                                                                                                                                                      18                                           not been established. It can't fairly be                                                                                                                                             ~
  19                                           lawyer, 1 must invoke my Fifth Amendment                                                                                                                                                      19                                           armvered.                                                                                                                                                                          ,~
  20                                           privilege.                                                                                                                                                                                    20                                              THE WITNESS: On the instruction of my                                                                                                                                           1~
  21                               BY MR. WEISSJNG:                                                                                                                                                                                           21                                          lawyer, l must invoke my Fifth Amendment                                                                                                                                             ~
  22                                           Q. Do you know - have you procured minor                                                                                                                                                      22                                   privilege.                                                                                                                                                                                   i
  23                                children to have sexual relations with                                                                                                                                                                   23                                BY MR. WETSSfNG:                                 ~
  24                               Nadia Marcinkova at Jeffrey Epstein's mansion?                                                                                                                                                            24                                   Q. Did Jeffrey Epstein have sexual encounters ~
  25                                    l'v1R RHEINHART: Objection to the fonn.                                                                                                                                                              25                                with underage people while at that apartment?    i
  ·r,~:,,":';(")r-,j•;,7.5', l~·,r-~=-:--, , -i.,.; ;~~.'F.~J.< ~Tr.r.-,,n;•m~.(-,,"!(;$,;,rr,;,~ ~ ":'=;;,·=   ,;:j:~.J'".":'l~W~H~-; i ; ,-~,.~ .... ~"-·'''"'~'."C-•;1--i.,:-~,l -,.. ,- •.7~-~,,--!;r::'!!~'":'' ''~lj'.~ll"'.:'Jl~')~~~,~1".~;:,.:.11!1 ;••?;)..~r1; "::4:':",,,~.$(rl":'U~1,r:~;-;;,,1=-.,.,...... ~ ...~i",./,"'O,;;.•!'-":'~i..:.:.... ••"':• ~·f'-'"'•~'~·-A•,'i. p,.,~ .,- •,..,._,_.~,:··.•·.!,,'~:•,:;1\.'i~;,~)·•..; :.~ •;.;,,;) '"'1' >•J•"\H'i"s1J



                                                                                                                                                                                                                                                                                                                                    33 (Pages 315 to 318)
      (561) 832-7500                                                                                                           PROSE COURT REPORT I NG AGENCY, INC.                                                                                                                                                                                                                (561) 832-7 5 06
                   Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 8 of 14




                                        UNITED STATES DISTRICT COCRT
                                        SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO. 08-CIV-8011.9-MARRA/JOHNSON


                JJ.1'JE   DOE NO . 2 ,

                                    Plaintiff,

                -vs-                                                  VOLUME III OF III

                JEFFREY EPSTEIN,
                                    Defendant.
               --------- ------------ I
               Related cases:
                08-80232,           08-08380, 08-80381, 08-80994
                08-80993,           08-80811, 08-80893, 09-80469
                09-80591,           09-80656, 09-80802, 09-81092
                                                                               I


                                                 VIDEOTAPED DEPOSITION OF
                                                             SARZ\H KELLEN



                                              Wednesday, March 24, 2010
                                                       10:37 - 6:51 p.m.

                                           250 Australian Avenue South
                                                    Suite 1500
                                          West Palm Beach, Florida 33401



                Reported By:
                Rachel W. Bridge, RPR, FPR
                Notary Public, State of Florida
                Prose Court Reporting Services
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Electronically signed by Rachel Bridge (201-272-.617-4627)                          905d1499-0cd8-4599-a2a0-6d38827b68c6
                   Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 9 of 14

                                                           Page 433                                                            !?age

       1         know what the Edge Group wa~, but whatever, you can         1     BY MS. EZELL:
       2         answer thc question.                                        2        Q. Do you want to respond? I didn't give you
       3            THE \vTfNESS; At the instruction of my lawyer,           3     time.
                 I must choose to invoke my Fifth Amendment right.           4            MR RElNHAR T: rve instructed her not to
       5       BY MS. EZELL:                                                 5        ~nswer the question. Let's move on.
       6         Q. Do )'(JU know Max Brockman?                              6     RY MS. EZELL:
       ...,                                                                  ..,
        I           MR. REINHART; rm sony, ean you repeat?                    I       Q. Do you recal! a dinner at El Brillo Way
       8       BY MS. EZELL:                                                 8     attended by David Copperfield where Jane No. 103 was a
       9         Q. Do you know a Max Brockman?                        i     9     guest'!
     10             MR. REINHART: [ believe that was asked and
                                                                       ! 10               MR. REfl\Tf-lART: ObjC(,1:ion to the form, lack of
     11          answered alr~ady, but--                                   11          foundation, and a standing objection as to her
     l?.            THE WITNESS: At the instrrn:.tion ofmy lawyer,         12          knowledge of anything involving El Brillo Way or      j
     13          l must invoke my Fifth Amendment right.                   13         Jeffrey Epstein. Instruct her not to answer.            ~
     14       BY MS. EZELL;                                                14             THE WITNESS: At the instruction of my la,vyer,     .j
     15          Q. Have you ever been photographed with Max               15          l must invoke my Fifth. Amendment right.
     16
     17
     18
              Brock.man at an Edge Science dinner?
                 A. At the instruction ofmy lawy-.,, I must invoke
              my Fifth Amendment right.
                                                                           16
                                                                           17
                                                                           18
                                                                                   BY M'S. EZELL:
                                                                                       Q. What is the rcle.tionship between Jeffrey
                                                                                   Epstein and David Copperfield?
                                                                                                                                            Ii
     19             MR. REINHART: You should let me -- l need to           19             MR. REINHART: Objection to fonn, Iack of           ~
     2G
     .?.l
     22
                 OQ]ect to the form of the question first, out go
                 ahead. I know we an want to get out of here. Uo
                 ahead,
                                                                           20
                                                                           21
                                                                           22
                                                                                       foundation as to her knowledge of either one of
                                                                                       those people. Instruct her not to answer.
                                                                                          THE WITNESS: At the instruction of my lawyer, §
                                                                                                                                            I
     23             TIIE WITNESS: Say it again.                            23          I must invoke my fifth Amendmeitt right.
     24             MR. REINHART: No, you ilre okay. Go ahead,             24      BY MS. EZELL:
                                                                                                                                             *u
                                                                                                                                              1
                                                                                                                                              ~
     25          Ms. Ezell. Thank you.                                     25          Q. To your knowledge, do they recruit girls for        ~
   ·""""""·---------------------+-----------------------➔-i,<
                                                           Page 434                                                            Pace 436 ~
                                                                                                                                   .         i
       l       BY MS. EZELL;                                                 1     one another?                                          ~
       2          Q. Do you know whether Jeffrey Epstein attended            2           MR. REINHART: Object to the form, compound, ~
       3       the Edge Science dinner in Monterey, California?              3        and again, lack offoundation. fnstruct her not to  ~
                                                                                                                                         ;
       4             MR. REINHART: Objection to the fonn, lack of            4        answer.                                            .,
       5          foundation. Instruct the witness not to ans,ver.           .5          THE WITNESS: i-\.t the instruction ofmy lawyer, f.
                                                                                                                                         't·
       6             THE WITNESS: At the instn.1ction ofmy lawyer,            6       I must invoke my Fifth Amendment right.            I
       7          1 must invoke my Fifth Amendment right.                    7     BY MS. EZELL:                                          :\
       8       BY .MS. EZELL:                                                B        Q. To your knowledge, are they involved in any       ij
       9          Q. You testified a moment ago that you were                9     sexual trafficking of young women?                        i
     1-0       phot0graphed nude by your boyfriend or a former             10            MR. RETNHART: Object lo lhc form for the            i
                                                                                                                                         ~
     ll        boyfriend and that you hoped there arc no photographs       11         reasons previously stated. Also calls for a legal  ~
     12        disseminated elsewhere.                                     12         conclusion as to 1tvhat sexual trafficking is.      i~i
     13              At what age were-those photographs taken?             l .'3      Instruct her not to answer.                        ~
     :. 4            MR. REINHART: l'm going to instntct her not           14            THE WITNESS: At the instruction of my lawyer, ~
     :;_5         to answer that. Tt has nothing to do with                15         I must invoke my Fifth Amendment right.              11
                                                                                                                                             \f
     16           anything. It's not reasonably calculated to lead         l.6     BY MS. EZELL:                                             ;1
     17           to discoverable evidence. We can move on.                17         Q. I believe you a~ked about Allen Dcrshowitz          J
     l8        BY MS. EZELL:                                               18      earlier.
     19           Q. Were you in any way damaged by that                   19             MR. REINHART: Twice.
     20        expericnct:?                                                20      BY MS. EZELL:
     21               MR. REINHART: Same instruction. Let's move           21         Q. And were instructed not to answer.
     22           on.                                                      22             MR. REINHART: Twice.
     23        BY MS. EZELL:                                               23      BY MS. EZELL:
     24          Q. Do you have any re1::,rrets?                           24         Q. All right. I'm going tQ ask again on behalf
     25            !.\1R. REINHART: Same instruction. Move on.             25      ofmy client. Are you aware of the friendship between

                                                                                                   18 (Pages 433 to 436)
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                                                Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 10 of 14

                                                                                                                                                                                         Page 437

          1                        Alkn Dershowitz and Jetttey Epstein?                                                                                                                                                                            1                        BY MS. EZELL:
         2                               MR. REINHART: And for the third time, I'll                                                                                                                                                                2                           Q. Do you know that when David Copperfield is in
         3                           object to the form and instruct ht.-r not tn answer                                                                                                                                                           3                        lown, he give.~ Jeffrey Epstein tickets and Jeffrey gives
         4                           the question.                                                                                                                                                                                                 4                        some to young worrK-·n to attend those shows?
                                        THE WITNESS: For the third time, I take the                                                                                                                                                                ._,"'                           MR. REINHART: Object to the form, multiple,
          6                          advice of my lawyer and invoke my Fifth Amendment                                                                                                                                                             6                           compound question, and a complete lack of
         '7                          right.                                                                                                                                                                                                        7-                          foumlulion. Instruct the witness not to 1mswcr.
         8                         BY MS. EZELL:                                                                                                                                                                                                   B                               THE WITNESS: At the instruction of my lawyer,                                                                                                                                                              !a
          9                           Q. V..'hen Allen Dershowitz comes to Palm Bettch, he                                                                                                                                                         9                           I must invoke my Fifth Amendment right.                                                                                                                                                                        -lI
     10                            stays at the El Hrillo mansion, doesn't he?                                                                                                                                                                10                            BY MS. EZELL:                                                                                                                                                                                                     }
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              };
     11                                   MR. REINHART: Objection to the fonn. There                                                                                                                                                          E                                Q. And do you know that those girls are invited
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              _*~,
     12                               is no foundation for her having any knowledge of                                                                                                                                                        12                            back stage after the show?                                                                                                                                                                                        J~
     13                               anything having to do with a person by the name of                                                                                                                                                     13                                    MR. REINHART: Same objection, complete lack
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              'it
     14                               Allen Dcrshowitz. I instruct her not to answer.                                                                                                                                                         14                               of foundation, and standing objection previously                                                                                                                                                               ij
     15
     16
     17
                                          THE WllNESS: At the instruction of my law_yer,
                                      I mtist invoke my Fifth Amendment right.
                                    BY MS. EZHLL:
                                                                                                                                                                                                                                              15
                                                                                                                                                                                                                                              1. 6
                                                                                                                                                                                                                                              17
                                                                                                                                                                                                                                                                               stated.
                                                                                                                                                                                                                                                                                   THE WITNESS: At the instruction of my lawyer,
                                                                                                                                                                                                                                                                               I must invoke my Fifth Amendment right.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ''

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ~
     18                               Q. Vt'hc:1 Allen Der~howit:r~ or has Allen Dcrshowitz                                                                                                                                                   18                            BY MS. EZELL:                                                                                                                                                                                                     i
     19                            ever been there when young ladies CliITIC to give massages?                                                                                                                                                19                               Q. Do you r1;,•mernber on or about, in or about March                                                                                                                                                          j
     20                                  MR. REINHART: Same objection stated to the                                                                                                                                                          20                             of2005 having conversations with one of the young women 'i
     21.                              previous question. Same instruction.                                                                                                                                                                   2 :L                           who came to the house to give massages about her         .f
                                                                                                                                                                                                                                                                                                                                     l
     22                                  THE WITNESS: At the instmction of my lawyer,                                                                                                                                                        22                             conversations with Jane No. 103'?                        ¾
                                                                                                                                                                                                                                                                                                                                     {~
     23                               r must invoke my Fifth Amendment right.                                                                                                                                                                23                                   MR. REINHART: OQje<.iion to the form, standing l
     24
     23
                                    BY MS.EZELL:
                                      Q. Has Allen Dershowitz ever been the beneficiary
                                                                                                                                                                                                                                             24
                                                                                                                                                                                                                                             25
                                                                                                                                                                                                                                                                               objection, lack of foundation. Instruct the
                                                                                                                                                                                                                                                                               witness not to answer, because the question implies
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              iI
                                      •~ - ~ _ . _ , , _ _ . , _ _.__., ,,y , , •• -• -"• {¥ -"--• f•• - •~• -•no-'y'.,• ~•I_. __ - •••• • • • -• • • •_.,,_ ~ ,_,,_, ••• • '• '• "'"" • •• "•M'~"'•"•"•• I'                                    ,,_,__,,,~ ........... •• - - •• • - •-"• ;, ,. • • • "••••• ••,_,_.,,_...,, . ,_,,__,..,_,,_......,,._,_,,._,. , ~   ,   , -_, ,_, ,,.._,_,...,,,_,,__, ,,,.,._,,,- ... ,,_,, _. ,_,..,,,_ M..,.,__,_,_.,_,._ ,__ ,_,_,..,_.,_,_,,.._,_,_,   ,,_


                                                                                                                                                                                         Page 438                                                                                                                                                                                                                                            ?age 440 ;
         1                         of those massages?                                                                                                                                                                                            l                              that she has auy knowledge at all of El Brillo Way. !
          2                                 MR. REINHART: Same objection and same                                                                                                                                                                2                          BY MS. EZELL:                                           ~~

         3                              Instruction.                                                                                                                                                                                             3                              Q. Same question -- sorry.
         4                                  THE WITNESS: At the instmction ofmy la\1,yer,                                                                                                                                                        4                              A. At the in1!t3'uction of my lawyer, I must choose
         .5                              I must invoke my Fifih Amendment righl.                                                                                                                                                                 .S                         to invoke my Fifth Amendment privilege.
       6                            BY MS . .EZELL:                                                                                                                                                                                              6                              Q. Same question as to March of 2006.
       7                                Q. Do you knov: John Casablanca?                                                                                                                                                                         7                                  MR.. RE1NHART: Same objection and same
       B                                .A. Never heard that name before.                                                                                                                                                                        8                              instruction.
                                                                                                                                                                                                                                                                                                                                     ~:
       9                                Q. Have you ever heard ofa wor1d-fomou::;                                                                                                                                                                9                                  THE \.\i1TNESS: At the instruction ofmy lawyer, ~
     l 0                            lllusionist whose stage name is David Coppe1field?                                                                                                                                                        l0                                l must choose to invoke my Fifth Amendment           ti
     1 :l                                   MR. REINHAflT: That's also been asked at l~st                                                                                                                                                     11                                privilege.                                           ti
     12                                 three times. T11l instruct her again not to answer                                                                                                                                                    12                            BY MS. EZELL
     13                                  thcque~tion.                                                                                                                                                                                         lJ                                Q. Do you have any recollection ofa conversation     ~
     14                                     THE- WITNESS: At the instruction of my lawyer,                                                                                                                                                    :L 4                          in which one of1he young women told Jane No. 103 that i
     15                                  I mnst invoke my Fifth Amendment right                                                                                                                                                               l5                            those girls who, those girls who would help Jeffrey in                                                                                                                                                            i
     16                             BY MS. EZELL:                                                                                                                                                                                             l6                            regard to the Investigation would be compensated and     ~
                                                                                                                                                                                                                                                                                                                                     <l
     17                                  Q. Have you ever gone to one of David                                                                                                                                                                :, 7                          those who would not or who would hurt him in the         {
     ~8                             Copperfield's shows?                                                                                                                                                                                       i8                           investigation would be dealt with?                       f
     19                                     MR REINHART: Objection to form, lack of                                                                                                                                                            19                                   MR. REINHART: Objection to the form, lack of ._!
     20                                  foundation <1s to knowledge of any person by the                                                                                                                                                     20                                 foundation, compound question. Instruct the                                                                                                                                                                  I
     21                                  name of David Copperfield. fnslruct her not to                                                                                                                                                       21                                witness not to answer, because the question implies                                                                                                                                                           f
     22                                  answer.                                                                                                                                                                                              22                                some knowledge of anything relating to a person by
     23                                     THE WITNESS: At the instruction ofmy lawyer,                                                                                                                                                      23                                the name of Jeffrey Epstein.                                                                                                                                                                                  f
     24                                  I must invoke my Fifth Amendment right.                                                                                                                                                              24                                    THE V/fTNESS: At the instructilm of my lawyer,
     25                                                                                                                                                                                                                                       25                                I must invoke my Fifth Amendment right.
     ,:,,·,:-, · ; ,;, : :1: =.•i•...-,.-:,,;,:•:.-:,:-:-,·~-··i~~r:~r1,:;:i,,:~1.rn~1~f'!<!"i,,t,<;.l~~tt1.>~~--f",::,i~.:rf':<."~::..,:;~i~,: ~1:0,~; •:<i.:e;";,~i,·,i1: • ;:,·,;; , ., , .. ~ .:.:.- ••• ,.,, , •• ,,~ .-. •..- " •·•·' ~.:,. ,,.._. •·◄M"-"•~Y-• ,:u•.,-:n,,A,_•.,.,,,-, ,,..,~,,.- , , ,.,, .,._~ ,· .i.,. • • .,,.,.•,.f. -~-,.,.•.,;,-! ...: ~;, ,,,~•~·.-,f,.:.- ;,10'~~1; 1 1~....;.•,-.? ;~~l:<f•.<~;~ i-l>t;,~;~;..-,>t{;.)lp),u.:..i\)<.<;tlUo..,                  ~

                                                                                                                                                                                                                                                                                                                                       19 (Pages 437 to 440)
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Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 11 of 14
                                                                       1


                          UNITED S'I'ATES DISTRICT COURT
                          SOUTHERN DIS TRI CT OF FLORIDA

                  Case No .     08 -CV- 80893- CIV- MARRA/JOHNSON



       JANE DOE,
                              Plaintif f,
       vs.
       JEFFREY EPSTEIN, et al. ,
                              De fe ndants.




                            DEPOSITION OF ADRIANA ROSS
                                  Volume 1 of 1
                               Pages 1 through 138
                                   Videotaped



                           Monday, March 15 , 2010
                          10: 13 a.m. - 12:42 p . m.
                            U.S. Legal Support
                  515 East Las Olas Boulevard , 3rd Floor
                      Fort Lauderdale, Flor ida 33301



                       Stenographically Reported By:
                       Janet L. McKinney, RPR, FPR, CLR
                        Registered Professi onal Reporte r
                         Florida Professional Reporter
                          Certified LiveNote Reporter



                              U.S. Legal Support
                                (954) 463-2933
Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 12 of 14
                                                                     34                                                                    36
      1        A. I refuse to uu~wt:r.                                       l         Q. J1111c Doc 102 ulthmdcly e~;:apc<f from him and
      2        Q. And Jeffrey Epstein and/or Ghi:ilaiue MaxweH               2      left to Australia, ii that your understanding'!
      3      obtained and purchased pa$sports for l:5-year-old Jimc          3         A. l refuse to unswer.
      4      Doc 102 to transport her to !'aim Bcacb, ;'!cw York City         4          MR. P!KE: !-\,rm.
             Santa Fe, Los An~eles, San Francisco, St. Louis, as              5        Q. Have you ever spoken with Jane Uoe 102"!
             well ,M Europe, the-Caribbean, and Africa; are you               6        A l refuse to answer.
      7      aware of that?                                                  7         Q. On one of Epstein's birthdays a friend of
      8         A. [ refure to answer.                                       8      Jeffrey Epstein sent to him 12 •· three 12-year-old
      9-             MR. PIKE: Fonn.                                         9      girls from FrAnce who spoke no English for Epstein to
    10          Q. It's also alleged that Jeffrey Epstein in               10       sexually o:ploit and ahu$e and after doing !W lte sent
    1:..     additiou to u1olestiug Jane Doe 102 ah:mg with Ghislaine      1 :i.    thel11 back to France the next day. Are you familiar
    12       M11Xwcll fon:cd her lo have sex with other models,            12       with that?
     13      actresses, and cckbritks?                                     l'.!          MR PIKE: Forni.
     H          A. I refuse to answer,                                     14          A hefo,e to answer.
     15              MR. (JIKE: Form.                                      1::,        Q. Isa't that ~omelhing that is fairly romruon for
     16         Q. It also indicates that Jeffrey l\:pstcin                16       Mr. Epstt:in?
    1"i      transported other minor girls from Turkey, the Czech          17         A. I refuStl to answer.
     lE      Republic, Asii1, and other countric~. Arc you aware of        1E            MR. PIKE: Fortu.
    19       that?                                                         19          Q. W llo are the friends that 8cnd to Jeffrey
     20              t1R. PTKF.: Farm.                                     20       Epi;tein underage minor females for his birthday so that
     21         A I refuse to answer.                                      21       be can Ahu~e?
     22         Q. Is Jeffrey Epstein involved in the                      22          A. I refuse to answer.
     23      iuteruatioual cbild sex trade?                                23            MR. PIKE: Fomi.
     24          MR. PIKE: Fonn.                                           24          Q. b oe.e of those friends Jean Luc Rn.mel?
     25         A I !'~fuse io ruiSwet.                                    25          A. I reftlse to answer.

                                                                     35                                                                     37
      1         Q. Is Jean Luc Brunel his partner in that                     1        Q. Ha-Ye you ever met Prim:c Audn:w?
      2      International child sex trade?                                   2        A. I refose to answer.
      3              MR. PIKE: Form.                                          3        Q. Has Prince Andrew lwcn im·olH-d with underngE
      4          A. I r-:fusc to answer.                                      4     minor female!> to your knuw k:dge?
         $        Q. Are you aware that after •· that Jcffrc)·                5       A. l refuse to answer.
      ti     l:!:pstein forced Jane Doc 102 to have sex with other            6        Q. Have 1·ou ever met Alan Dershowitd
                                                                              .,I
      7      adult male peers incluuing royalty, politician~,                          A. I refuse to answer.
      s      academici:rns, businessmen aod/or other prort:;;sional amJ     8          Q, When Alan Dershowitz smys at Jeffrey
         9   pcrronal acqmd11la11ces of Jeffrey Epstei11's?            i    9       Epstein's house isn't it tme that he has been at the
     10              MR. PIKE: Fom1.                                       10       l1ouse when underage ntinor females have been in the
     ll         A. I refuse to ilnswer.                                    11       b~droorn with .Jeffrey Epstein?
     l2         Q. b that suructhing tlrnt he did wilb girls other         '.L 2       A. Trefuse to answer.
     13      than Jane Doc 102'!                                           3.3         Q. Has •· nre you familinr with the media
     14           MR. Pl.KE; Form.                                         }4       publkation or 0111ine resource RadarOnliue?
     15         A I refose tu mis wt,.                                                 A. I refiise to answer.
     16         Q. Arcu' t you familiar with Jefrrey Epstein's             16          Q. Is that something that you a.~st~ted
     17      pcactkc of pimping_ out underage minor fem1des to other       17       Mr. Epstein with when he purcha~ed RadarOnline?
     18      people that ha~·c the same sexual obse$$iuu \\'ith            18          A l refhse 10 ansy,-cr_
     19      umlcragc minors?                                              19          Q. And do you know his busine.~'! partner in that
     20           MR. PIKE: Form.                                          20       endeovo1·?
     2l         A. l refu~e lo unswer.                                     7.1         A 1 refose to answer.
     22         Q. And doesn't he bcnctH l'irnUicially from lhut           22          Q. fan't it also true tlmt lte used RrtdarOnline as
     23      sex trade?                                                    23       another wa) to gain access to u11derage minor females
     24              MR. PIKE: form,                                       24       for ~ex?
     25         A I refuse to aaswcr.                                                     ~1R. PIKE: Fo!m.

                                                                                                                 10 (Pages 34 to 37)

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                                                    (954} 463-2933
Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 13 of 14
                                                                         78                                                                   80
        l     underage minor females staying at those various                                  MR. PIKE: Funn.
              condominium~ located at JOI Ea~i 66th Stf\:ct?                        2        Q. And you flew to bill Island, right?
        .:,      A. I rc:fuse to filtS\¥er.                                          ~      A. l refuse to answer.
                 Q. And those females get work visas to say that                    4          MR. PIKE: Fonu.
        5     they're models, h11t actually they are pro.~titnted 011t              5        Q. You flew to New Mexico?
        6     by Jeffrey Epstein and John Luc Brunel, con·ect?                      6        A I refa~e to imswer.
       7         A. I refose to answer.                                             1          l\1R. PIKE: Fom1.
        8          MR PIKE Form.                                                    8        Q. You (fow to Ne1... Jersey?
       9        Q. And Htrious businessmen aad politicians arom1d                   9          !Vffi.. PIKE: Form.
      10      New Yurk and W~·hingtou, D.C. go to those apartments,               10         A. t refuse ro a11swer.
      l1      frequently to have sex ,,..itb uuderage minors; is that         ' 11           Q. Se... ernl ur the flighb are just yoursd(,
      12      true?                                                               12      Jeffrey Eps1ei11, and Samii Kellen. WJ1at did you do 011
      1.3        A I refuse to answer.                                            13      those flights?
      14         Q. Dv you remember a tlight on December 3rd, 2004                14           MR. PIKE: Form.
      15      that you took witb Jeffrey Epstein, Nadia Marcinkova,               15         A. I refuse to answer.
      16      Sarah Kellen. and somebody with initialll SH•·                      16         Q. \\"ho's Adam Perrylang?
      1'i'      A. I refuse to ans;vcr.                                           1,         A. I refa~c to unswer.
      18         Q. - from JFK to PBI?                                            18         Q. Is that somebody that you were made to have
      19              MR. PTKE: Fom1.                                             19      sex with?
      20         Q. Do you remember that?                                         20         A. I refuse t(l answer.
      n          A. I refose to answer.                                           21         Q. Did Jeffrey Epstein ever make you hitve sex
      22         Q. Wtio is SH?                                                   22      with any females?
      23         A. I refuse tu unswer-.                                          23           MR PIKE: Form.
      24         Q. Is that an underage minor?                                    24         A. I refuse to answer.
      2S         A. l rcfim: to answer.                                           25         Q. Did he ever make you ha\·e ~:l with ~my ofhi?o
   ! - - - - - - - - - - - - - - - ··--"" '-"'-· •
                                                                         --19 i                                                               81
                                                                         ''   f

        1       Q. Do yon renumber a flight that you took       j                   1     friend.~?
        2     December ?7th with Nadia Marcinkov.a and .feffrey                     2           MR. PIKE: } 'orm.
        3     Epstein?                                                              3        A. I refuse to answer.
        4       A. I refuse to answer.                                              4        Q. Who is Sandy Berger?
                 Q. What airport is thi.i;. TlST?                                   $        A. I refuse to !lllswcr.
        ti       A. I refuse to am,wer.                                             6        Q. That's somebody else that wa~ affiliated with
        7         Q. Do you know Dong Rand?                                         7     Bill Clinton at one point in time, correct?
        8         A. I refuse to answer.                                            8        A. l refuse to an:rwcr.
        9         Q, Isn't th.at Rill Clinton's assistant?                          9        Q. A close friend of Jeffrey Epstein's?
      10          A. I refuse to answer.                                          10            MR. PIKE: Form.
      11          Q. Vou'11e been on the airplane with him before?                11         A. I rcfu~c to un~wer.
      12          A. I refuse to answer.                                          12         Q. He called the hou!W within three wci.,ks of tire
      13          Q. H a'l-·e you been on the airplane with Bill                  13      search ,varrnnt being c:u:cutcd. Did he lip off Jeffrey
      14       Clinton before?                                                    14      Epstein?
      l!,         A. I refuse to answ~.                                           15            P..1R PIKE: Fonu.
      16          Q,      Jane
                        Who  i Doe
                               \ - 2?                                             16         A. I refosi: to answer.
                  A. I refuse to answer.                                          '...,
                                                                                  .l,        Q. Is he ~omi:bod) that's involved willl underage
      18         Q. That's ~omebody you've flown with on .Jeffrey                 18      minors'?
               Epstein'~ plane on numerou§ occasions, correct?                    19         A. Trefuse to answer.
      20               MR. PIKE: Form.                                            20         Q. Do you know Igor Ziiu,vw~·?
      21          A. l refuse to answer.                                          21         A. I refu~e to answer.
      22          Q. In fact, during the year 2005 you flew on                    22         Q. Andrea Metrovich?
      23       Jeffrey Epstein's plane would you say more than 50                 23         A. l refuse to answer.
      24       times?                                                             24         Q. Have you flown on the airplane with Alu
      25          A. I refhse to answer.                                          25      Oershowitz before?

                                                                                                                       21 (Pages 78 to Bll

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                                                     (954) 463-2933
Case 1:15-cv-07433-LAP Document 1328-44 Filed 01/05/24 Page 14 of 14
                                                                       82                                                                 84
      1           MR.PIKE: Fonn,                                              1    give you a ticket, correct?
      2         A. I refuse to answer.                                       2              MR. PIKE: Fonn.
      3         Q. And .Jean C.uc Brunel is somebody who you have            3           A. I refuse to answer.
      4      been on fue afr()hlne with .~everal times, correct'!            4           Q, Was it ever your job to call the polire
      5         A. I refuse to answer.                                       5     department and ask rf any police reports were oa file
       6           MR. PIT<E'. Forni.                                         6    or agyl,,Qdy 00111plaim:d about tbc a;:tivitics al Jeffrey
      7         Q. And when Je1rn Lue Brunel 151 on this airplane             7    Epstein's housi:?
      8      then: lll'e underage minor - minor ft/males on the               8             MR. PIKE: Fonn,
       9     airplane with )'UU. eorred?                                     9           A. I t1;fuse to answer.
     10           MR. PIKE: Form,                                           l 0          Q. Have yo11 ever gone physically to the 1iol~e
     11         A l refo:;e to answer.                                      ll     department?
     12         Q. IJ; then: a back room tot-his airplane? b                12           A, I refuse to awwer.
    13       there any wrt oheparation or is it all one big room'!          13           Q, Was thcl'C a tlight ,vltere you flew alone with
    14            !\1R. PIKE: FQrm.                                         14     Jean Luc Brunel?
     15         /\. I refuse to answer.                                     15           A. I refuse to answer.
     16         Q. So If Jeffrey Epstein and ,lean Luc Brunet are           16           Q. Have you ever flown on the plane with Prince
     n       engJtged in !¾\lC acts with underage minors did ynu -          l 7    Andrew?
    18          A I refuse -                                                1::3            MR. PIKE: Fonn.
     19         Q. Sorry - did you observe 1111y of lhcmi acts?             19           A, I refuse to answer.
     20         ,\. r refuse to aJ1swer.                                    20           Q. Do you know Ziola Braukis?
     2:            MR PIKE: f om1.                                          21           A. I refuse to answer.
                Q. And on numerous oftbe nights the flight logs             22           Q. That's another model that Jeffrey Epskin
     23      Indicate someone's name then oftenthnei1 initlal9> but         23     knows, correct?
     2'.I    sometimesitwouldjust say "three fe1nalts". Do you              24           A. I refuse to answer.
     25      know why?                                                      25              MR. PlKE: Fonn.

                                                                       H3                                                                 85
       1       A. I refuse to answer.                                                    Q. Somebody that he had en_gaged in sex with whe11
       2          !v1R. PIKE: Form.                                           2    she '!HS underage?
       3       Q. Who's Claire fla»:d?                                        3          ,o,.. I refuse to answer.
       4       A. l refuse to answer,                                         q          Q. She actually got a modeling contract out of
       5        Q. Do you know Jo.Jo and Lynn FontaoeUa?                      5    it!
       6        A. I reibsc to answer.                                        6            MR. PIKE: Fonn.
       7        Q. They' re the house managers up ar the mansion              7          A. I refuse to M SWl:f,
       8     up in Manhattan, <orred?                                         8          Q. Why does Jean Luc Brunel and Jeffrey Epstl:in
         9        MR. PIKE: Form.                                             9    lly together so often?
     10         A. I refuse to a.'ISWer.                                    10             1V1R PIKE: form.
     11         Q. And they assist Mr. &pstetn In engiiging in              11           A. 1 refuse to answer.
     12      underage se:< with minors in New York, eorre.:i?               12.          Q. And why does Ghislaine MaXlvdl abu Hy so
     13           MR. PIKE: Form.                                           13     often witti Jeffrey Epstein a11,d Jean Luc Brunel?
     14         A. 1 refuse to answer.                                      14        A. I refuse to answer.
     15         Q. Tiley also maintain a pretty tlO$C rrll1tionship         15             MR. PIKE: Fonn.
     16      with the police?                                               16           Q. fsn't it true tltat all th~e ut them nre
     11         A, I rc~ lo amwer,                                          l 7    obsessed and ;iddicted to sex wllh underage minors?
     18         Q. And that'.s a blg component abo, right, that             lS             MR. PIKE: f onn.
     19      Jeffrey Epstein has- ls friendly with the law                  19           A. r1eftise lo ur1:.wer.
     20      enforcement, eorm:t?                                           20             ·MR. Plk'"E: Brod, how much longer do yoo have?
     21           MR. PIKE: Form,                                           21             MR, EDWARDS: How long? You want co take a
     22         A. l refuse 10 answer.                                      22           break?
     2S         Q. Like law enforcement would do favori; for nol            23              MR, PIKE; Yeah,
     24      only .Jeffrey Ep.~lein b11t ltis various assistaats. If        24              MR. EDWARDS: Sure. It's going a lot fusrer
     25      you were sp~din~ around rhe neighborhood they wouldn't         ;! 5         than ! thought it would.

                                                                                                                     22 {Pages 82 to BS)

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